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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                          8:17CR313

        vs.
                                                                               ORDER
SHERRI L. ATKINS,

                         Defendant.


        This matter is before the court on Defendant's UNOPPOSED MOTION TO EXTEND
PRETRIAL DEADLINES AND TO DECLARE CASE EXTENDED AND COMPLEX [22]. This case
is so unusual and complex that it is unreasonable to expect adequate preparation for pretrial proceedings,
or the trial itself, within the time limits established by the Speedy Trial Act. Therefore, for good cause
shown, I find that the motion should be granted. The defendant will be given an approximate 120-day
extension. Pretrial Motions shall be filed by March 28, 2018.


        IT IS ORDERED:
        1.      Defendant's UNOPPOSED MOTION TO EXTEND PRETRIAL DEADLINES AND TO
DECLARE CASE EXTENDED AND COMPLEX [22] is granted. Pretrial motions shall be filed on or
before March 28, 2018.
        2.      This case is declared to be unusual and complex pursuant to 18 USC § 3161(h)(7)(B)(ii).
        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between November 28, 2017 and March 28, 2018, shall be deemed excludable
time in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel requires additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        Dated this 29th day of November, 2017.

                                                           BY THE COURT:

                                                           s/ Michael D. Nelson
                                                           United States Magistrate Judge
